         Case 4:20-cv-02474 Document 19 Filed on 01/05/22 in TXSD Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


ROBERT VANDERPLOEG,                               )
                                                  )
                                  Plaintiff,      )
                                                  )        CIVIL ACTION
vs.                                               )
                                                  )        Case No. 4:20-CV-02474
NASA POINT, L.P.,                                 )
                                                  )
                                  Defendant.      )


       NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT WITH PREJUDICE

         Plaintiff, ROBERT VANDERPLOEG (“Plaintiff”), by and through undersigned counsel and

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby provides this

Notice to the Court and to all relevant parties of Plaintiff’s voluntary dismissal of Defendant,

NASA POINT, L.P., with Prejudice.

         Respectfully submitted this 5th day of January, 2022.

                                                  Law Offices of
                                                  THE SCHAPIRO LAW GROUP, P.L.

                                                  /s/ Douglas S. Schapiro
                                                  Douglas S. Schapiro, Esq.
                                                  Southern District of Texas ID No. 3182479
                                                  The Schapiro Law Group, P.L.
                                                  7301-A W. Palmetto Park Rd., #100A
                                                  Boca Raton, FL 33433
                                                  Tel: (561) 807-7388
                                                  Email: schapiro@schapirolawgroup.com




                                                   1
                                        SCHAPIRO LAW GROUP, P.L.
      7301-A W. Palmetto Park Rd., #100A, Boca Raton, FL 33433 • Tel (561) 807-7388 • Fax (561) 807-7198
     Case 4:20-cv-02474 Document 19 Filed on 01/05/22 in TXSD Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Court’s CM/ECF system on January 5, 2022 upon all counsel or parties.



                                              /s/ Douglas S. Schapiro
                                              Douglas S. Schapiro, Esq.
                                              Southern District of Texas ID No. 3182479




                                               2
                                    SCHAPIRO LAW GROUP, P.L.
  7301-A W. Palmetto Park Rd., #100A, Boca Raton, FL 33433 • Tel (561) 807-7388 • Fax (561) 807-7198
